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8                           IN THE UNITED STATES DISTRICT COURT

9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,              ) 1:13-CR-00219-LJO-SKO
                                            )
12                        Plaintiff,        ) ORDER FOR FORFEITURE MONEY
                                            ) JUDGMENT
13          v.                              )
                                            )
14   MATEO MANUEL SANTIAGO,                 )
                                            )
15                        Defendant.        )
                                            )
16                                          )
17          Based upon the United States’ Application for Forfeiture Money

18   Judgment and the plea agreement entered into between plaintiff United

19   States of America and defendant Mateo Manuel Santiago,

20          IT IS HEREBY ORDERED that

21          1.    The defendant Mateo Manuel Santiago shall forfeit to the

22   United States the sum of $13,735.44, and the Court imposes a personal

23   forfeiture money judgment against defendant in that amount.

24          2.    Any funds applied towards such judgment shall be forfeited

25   to the United States of America and disposed of as provided for by

26   law.     Prior to the implementation of sentence, any funds delivered to

27   the United States to satisfy the personal money judgment shall be

28   seized and held by the U.S. Marshals Service, in its secure custody

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                                                       Order for Forfeiture Money
                                               1       Judgment
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1    and control.

2         3.    This Order of Forfeiture shall become final as to the

3    defendant at the time of sentencing and shall be made part of the

4    sentence and included in the judgment.

5         4.    The United States may, at any time, move pursuant to Rule

6    32.2(e) to amend this Order of Forfeiture to substitute property

7    having a value not to exceed $13,735.44 to satisfy the money judgment

8    in whole or in part.

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     IT IS SO ORDERED.
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12     Dated:   April 30, 2014                  /s/ Lawrence J. O’Neill
                                          UNITED STATES DISTRICT JUDGE
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                                                      Order for Forfeiture Money
                                            2         Judgment
